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                                                      U.S. Department of Justice

                                                      Andrew E. Lelling
                                                      United States Attorney
                                                      District of Massachusetts

Main Reception: (617) 748-3100                        John Joseph Moakley United States Courthouse
                                                      1 Courthouse Way
                                                      Suite 9200
                                                      Boston, Massachusetts 02210

                                                      March 4, 2019


Paul Thomas, Esq.
Duffy Law, LLC
129 Church Street, Suite 310
New Haven, CT 06510

          Re:       United States v. Rudolph "Rudy" Meredith              UNDER SEAL
                    Cooperation Agreement

Dear Mr. Thomas:

        This letter sets forth the understanding between the United States Attorney for the District
of Massachusetts ("the U.S. Attorney") and your client, Rudolph "Rudy" Meredith ("Defendant"),
concerning Defendant's cooperation with the U.S. Attorney in the above-referenced case. This
Cooperation Agreement supplements, but does not supersede, the Plea Agreement between the
parties dated March 4, 2019 ("Plea Agreement"). Defendant and the U.S. Attorney further
understand and agree that the original of this Cooperation Agreement shall be maintained by the
U.S. Attorney, but may be later disclosed pursuant to the U.S. Attorney's discovery obligations,
or submitted to the District Court under seal, with notice to Defendant. In addition, Defendant and
the U.S. Attorney understand and agree that the U.S. Attorney will submit this Cooperation
Agreement to the U.S. Probation Office for its use in preparing the Presentence Report. Nothing
in this Cooperation Agreement affects the U.S. Attorney's obligation to provide the Court and the
U.S. Probation Office with accurate and complete information regarding this case.

          The Cooperation Agreement is as follows:

          1.        Terms of Cooperation

       Defendant agrees to cooperate fully with law enforcement agents and government
attorneys. Defendant must provide complete and truthful information to all law enforcement
personnel. If Defendant's testimony is requested, Defendant must testify truthfully and completely
before any grand jury, and at any hearing and trial. Defendant must answer all questions posed by
any law enforcement agents and government attorneys and must not withhold any information.
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Defendant must not attempt to protect any person or entity through false infoimation or omission,
or to implicate falsely any person or entity. Upon request, Defendant must, consistent with Swiss
law, furnish all documents, objects and other evidence in Defendant's possession, custody or
control that are relevant to the government's inquiries.

        Defendant understands that he has a right to have counsel present when communicating
with representatives of the government about the criminal conduct with which Defendant has been
charged. To facilitate Defendant's cooperation, Defendant hereby knowingly and voluntarily
waives this right with respect to ,all debriefings by law enforcement agents and government
attorneys and all appearances to testify. Defendant or Defendant's counsel may revoke this waiver
with a specific request at any time without otherwise affecting the terms or enforceability of this
Cooperation Agreement.

        To ensure that the Court has all relevant sentencing information, Defendant waives any
rights to prompt sentencing and will join in any requests by the U.S. Attorney that sentencing be
postponed until Defendant's cooperation is complete. Defendant understands that the date of
Defendant's sentencing is within the sole discretion of the Court and that this Cooperation
Agreement may require Defendant's cooperation to continue even after Defendant has been
sentenced. Defendant's failure to continue to cooperate pursuant to the terms of this Cooperation
Agreement after sentence is imposed shall constitute a breach of this Cooperation Agreement by
Defendant.

       2.      Substantial Assistance Motion

       Should Defendant provide substantial assistance in the investigation or prosecution of
another person who has committed a criminal offense, the U.S. Attorney agrees that, at or before
sentencing, the U.S. Attorney will file a motion under USSG § 5K1.1 to recommend that the Court
impose a sentence below the advisory Guidelines sentencing range.

         The determination whether Defendant has provided substantial assistance rests solely in
the discretion of the U.S. Attorney and is not subject to appeal or review. The U.S. Attorney will
make this determination based on the truthfulness and value of Defendant's assistance, regardless
of the outcome or result of any proceeding or trial. The U.S. Attorney reserves the right to decline
to file a motion pursuant to USSG § 5K1.1 if Defendant violates any condition of pretrial release,
violates any of the requirements of honesty and candor detailed in Paragraph 1 above, or engages
in any criminal conduct after the date Defendant signs this Cooperation Agreement and/or the Plea
Agreement. Defendant may not withdraw his guilty plea if the U.S. Attorney determines that
Defendant has not rendered substantial assistance or otherwise declines to file a motion pursuant
to USSG § 5K1.1 for any of the reasons listed above, or if the Court refuses to grant the U.S.
Attorney's motion for a downward departure.




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       3.      Sentence Recommendation with Substantial Assistance

        If Defendant provides substantial assistance, subject to all of the provisions of Paragraphs
1 and 2 above, the U.S. Attorney will advise the Court of the full nature, extent, and value of the
assistance provided by Defendant.1 In such an event, the U.S. Attorney reserves the right to
recommend a particular sentence or sentencing range, or to make no recommendation at
Defendant's sentencing, subject to the requirements of Paragraph 2 above. In no case will the U.S.
Attorney's recommendation exceed that set forth in Paragraph 4 of the Plea Agreement between
the parties.

       Any sentencing recommendation the U.S. Attorney may make based upon Defendant's
substantial assistance is not binding upon the Court. Rather, the sentence to be imposed is within
the Court's sole discretion. Should the Court decline to follow the U.S. Attorney's sentencing
recommendation (if any), the U.S. Attorney reserves the right to defend the Court's sentence in
any direct appeal or future challenge (collateral or otherwise).

       4.      Waiver of Rights to Appeal and to Bring Future Challenge Against Sentence

        Notwithstanding the provisions of Paragraph 6(c) of Defendant's Plea Agreement,
Defendant agrees that, if the Court grants the U.S. Attorney's motion for a downward departure
pursuant to USSG § 5K1.1 and does, in fact, depart downward on that basis, Defendant will not
file a direct appeal or challenge in a future proceeding (collateral or otherwise) Defendant's
sentence (including any orders relating to supervised release, fines, forfeiture, and restitution). In
all other circumstances, Paragraph 6(c) of Defendant's Plea Agreement controls the filing of any
direct appeal or challenge in a future proceeding (collateral or otherwise) of Defendant's sentence
(including any orders relating to supervised release, fines, forfeiture, and restitution). This
provision is binding even if the Court's Guidelines analysis is different from that set forth in
Defendant's Plea Agreement.

        If, despite this waiver, Defendant appeals or challenges in a future proceeding (collateral
or otherwise) his sentence, the U.S. Attorney reserves the right to argue the correctness of the
sentence imposed by the Court (in addition to arguing that any appeal or future challenge is waived
as a result of this waiver).

        5.     Letter Immunity

        In return for Defendant's full and truthful cooperation, the U.S. Attorney agrees not to use
any information provided by Defendant pursuant to this Cooperation Agreement or pursuant to the
proffer letter dated May 2, 2018 (or any information directly or indirectly derived therefrom)
against Defendant in any criminal case except in a prosecution: (1) for perjury or obstruction of
justice, or for making a false statement, after the date of this Cooperation Agreement or the Plea
Agreement; or (2) for an act of physical violence against the person of another, or conspiracy to
commit any such act of violence. The U.S. Attorney reserves the right to respond fully and
accurately to all requests for information by the Court and U.S. Probation Office in this case. All
such disclosures, however, shall be made subject to the constraints identified in USSG § 1B1.8(a)
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and its commentary on the use of this information by the Court and U.S. Probation Office.
Regardless of the provisions of USSG § 1B1.8(b)(5) and its commentary, the U.S. Attorney agrees
to take the position at sentencing that information provided by Defendant pursuant to this
Cooperation Agreement and the Plea Agreement should not be used as a basis for the Court to
refuse to depart downward.

       6.      Breach of Cooperation Agreement

        If the U.S. Attorney determines that Defendant has breached this Cooperation Agreement
by making any false, incomplete or misleading statement, or by providing any false, incomplete
or misleading information to any law enforcement personnel, grand jury or court, the U.S. Attorney
may terminate this Cooperation Agreement and/or the Plea Agreement as set forth in Paragraph
13 of the Plea Agreement; may pursue any and all of the remedies for breach set forth in Paragraph
13 of the Plea Agreement; and may prosecute Defendant for any and all offenses that could be
charged against Defendant in the District of Massachusetts, including, but not limited to, false
statements and perjury.

       7.      Complete Cooperation Agreement

        This letter contains the complete supplemental agreement between the parties relating to
Defendant's cooperation in this matter. No other promises, representations or agreements have
been made other than those set forth in this Cooperation Agreement, the proffer letter dated May
2, 2018, which is superseded by this Cooperation Agreement as to any statements made after the
date of this Cooperation Agreement, and the Plea Agreement. This Cooperation Agreement can
be modified or supplemented only in a written document signed by the parties or on the record in
court.




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       If this letter accurately reflects the cooperation agreement between the U.S. Attorney and
Defendant, please have Defendant sign the Acknowledgment of Agreement below. Please also
sign below as Witness. Return the original of this letter to Assistant U.S. Attorney Eric S. Rosen.

                                             Very truly yours,

                                             ANDREW E. LELLING
                                             United States Attorney


                                      By:
                                             g-ILPHEN E. FRANK
                                             Chief, Securities and Financial Fraud Unit
                                             JORDI DE LLANO
                                             Deputy Chief, Securities and Financial Fraud Unit



                                             ERIC S. ROSEN
                                             Assistant U.S. Attorney




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                 a,CKNOW LEDO MEM' OF COOPERATION AGREEMENT

        I have read this Cooperation Agreement in its entirety and discussed it with my attorneys.
I hereby acknowledge- that it fully sets forth my cooperation agreement with the United States
Attorney's Ofiice for the District of Massachusetts, 1 Rutter state that no additional promises or
representations have been made to me by any official of the United States in connection with this
matter other, than those set forth in the Plea Agreement dated March 4, 2019, and the proffer letter
dated May 2,, 2018. I understand the crimes to which I have agreed to plead guilty, the maximum
penalties for those offenses, and the Sentencing Guideline penalties potentially applicable to them,
lam satisfiedyith the legal representation provided to me by my attorneys. We have had sufficient
time to meet and discuss my case. We have discussed the charges against me, possible defenses I
might have, the terms of this Cooperation Agreement (and the March 4, 2019 Plea Agreement),
and whether I should go to trial. I am entering into this Cooperation Agreement freely, voluntarily,
and knowingly.


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                                                     Rudolph "Rudy" Meredith
                                                     Defendant

                                                     Date:

        I certify that Rudolph "Rudy" Meredith has read this Cooperation Agreement, and that we
have discussed both its meaning and its relationship to the Plea Agreement dated March 4, 2019.
1 believe he understands the Cooperation Agreement and is entering into the Cooperation
Agreement freely, voluntarily, and knowingly.




                                                     Paul Thomas, Esq.
                                                     Attorney for Defendant

                                                     Date:




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